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 1                                                THE HONORABLE MARSHA J. PECHMAN

 2

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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   KYKO GLOBAL, INC., a Canadian corporation, and KYKO
     GLOBAL GMBH, a Bahamian corporation,
 9
                                             Plaintiffs,           NO.: 2:13-cv-01034
10   v.
11                                                                 REPLY IN SUPPORT OF
     PRITHVI INFORMATION SOLUTIONS, LTD., a Pennsylvania           DEFENDANTS’ MOTION TO
12   corporation, PRITHVI CATALYTIC, INC., a Delaware              DISQUALIFY COUNSEL
     corporation, PRITHVI SOLUTIONS, INC., a Delaware
13   corporation, PRITHVI INFORMATION SOLUTIONS
     INTERNATIONAL, LLC, a Pennsylvania limited liability          NOTE ON MOTION
14   company, INALYTIX, Inc., a Nevada corporation,                CALENDAR: June 6, 2014
     INTERNATIONAL BUSINESS SOLUTIONS, INC., a North
15   Carolina, corporation, AVANI INVESTMENTS, Inc., a
     Delaware corporation, ANANYA CAPITAL Inc., a Delaware
16   corporation, MADHAVI VUPPALAPATI AND ANANDHAN
     JAGARAMAN, husband and wife and the marital community
17
     composed thereof, GURU PANDYAR AND JANE DOE
18   PANDYAR, husband and wife and the marital community
     composed thereof, and SRINIVAS SISTA AND JOHN DOE
19   SISTA, husband and wife and the marital community composed
     thereof, DCGS, INC., a Pennsylvania company, EPP, INC., a
20   Washington corporation, FINANCIAL OXYGEN, INC. a
     Washington corporation, HUAWEI LATIN AMERICAN
21   SOLUTIONS, INC., a Florida corporation, L3C, INC., a
     Washington corporation.
22
                                             Defendants.
23

24

25


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 1                    A. Objection to Kiran Kulkarni’s Declaration in Opposition to
                               Defendants’ Motion to Disqualify Counsel.
 2
            As an initial matter Defendants object to much of the content of Kiran Kulkarni’s
 3
     declaration. (doc. 198-4) He is not qualified to make many of the opinions because he is not
 4

 5   qualified as an expert witness. Further, he lacks the requisite firsthand knowledge to testify to many

 6   of the facts he attempts to assert. Below is a list of the objectionable portions of Kulkarni’s

 7   Declaration:

 8   1. Paragraph 5. The statements made in this paragraph are both hearsay and the conclusions made

 9      in the paragraph are reserved for an expert witness.
10          a.      Kulkarni’s statement “documents on the Madhavi computer clearly expose the
11
     source, type and location of millions of dollars of assets that the Defendants have been hiding and
12
     about which they have lied under oath to Kyko, the Department of Homeland Security, the United
13
     States Citizenship and Immigration Services…” is hearsay not subject to any exceptions and is
14
     clearly presented for the fact of the matter asserted and to sensationalize Plaintiffs’ position. See
15
     FRE 801; United States v. Marshall, 762 F.2d 419, 425 (5th Cir. 1985).
16
            b.      The implications of Kulkarni’s statement—that he has uncovered an intricate
17

18   financial scheme that defrauded numerous entities as well as the federal government is expert

19   testimony. However, as the agent of Plaintiffs he cannot provide opinion testimony. Even if he was

20   not the agent of Plaintiffs, he is not qualified to give opinion testimony that would be reserved to a

21   forensic accountant, not a fact witness. FRE 601; FRE 703; Virginia Elec. & Power Co. v. Sun
22   Shipbuilding & Dry Dock Co., 68 F.R.D. 397, 406 (E.D. Va. 1975).
23
     2. Paragraph 15. Kulkarni’s statement that “upon review of these documents, it was clear that they
24
        were forgeries” is inadmissible expert testimony and lacks foundation.
25


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 1           a.      Kulkarni is an agent of Plaintiffs and can only serve as a fact witness, not an opinion

 2   witness. See Virginia Elec. & Power Co. v. Sun Shipbuilding & Dry Dock Co., 68 F.R.D. 397, 406
 3   (E.D. Va. 1975); see also FRE 601.
 4
     3. Paragraph 17a-d. Kulkarni does not have firsthand knowledge regarding what he argues was a
 5
          fraudulent scheme nor did Kulkarni attempt to file any supporting documents under seal to
 6
          support the assertions contained therein. Further, Kulkarni’s statements appear to be rendering a
 7
          legal conclusion “Plaintiffs uncovered documents and evidence regarding Defendants’ continued
 8
          fraudulent activities…”    All discussions about Cemetrix and the purported “Ericsson Contract”
 9
          are inadmissible hearsay because Kulkarni lacks the foundation to present the testimony, and
10

11        Kulkarni appears to be testifying to an ultimate legal conclusion as a fact witness. See FRE 801,

12        FRE 601, FRE 701, 704.

13   4.   Paragraph 18. Kulkarni does not have the requisite firsthand knowledge to testify as to the wire

14        transfer that were not from Kyko to another entity. Therefore, Kulkarni’s testimony regarding

15        the purported wire transfer from PISL to Cemetrix is hearsay. See FRE 601; FRE 801.
16        Likewise, exhibit 6 is inadmissible because Kulkarni lacks the knowledge and foundation to
17
          authenticate purported wire transfer slips from PISL to another company. See FRE 601, FRE
18
          901.
19
     5. Ex. 2. Shantanu Surpure’s conclusions are inadmissible opinion testimony because he has not
20
          established that he has the requisite knowledge to serve as an expert and has failed to lay the
21
          foundation to serve as a fact witness. See FRE 601, FRE 701. Furthermore, the factual basis of
22
          his declaration, the purported exhibits, are not actually attached to his declaration. Therefore all
23

24        factual statements he makes are hearsay. FRE 801.

25


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 1                        B. Plaintiffs’ Reliance on the Fact that Their Counsel Purchased
                          the Computer “Lawfully” Fails to Recognize that the Issue at Bar
 2                       is Manipulation of the Hard Drive to Capture and Exploit the Data
                                                   Contained on it.
 3
                Plaintiffs’ assertion that their actions and the actions of their counsel are acceptable and have
 4

 5   not tainted this litigation because they “lawfully” purchased the computer fails to address the issue at

 6   hand. Defendants and Vuppalapati do not care that Plaintiffs purchased a computer. The issue is not

 7   hardware; the issue is the data Plaintiffs pulled from the hard drive when Vuppalapati had taken

 8   steps to delete and protect the data. Defendants will gladly pay for the cost of the computer, i.e. the

 9   sale price at auction, upon its return. In the alternative, Plaintiffs can keep the computer but return
10   the hard drive. Regardless, the data—in particular the privileged communications between
11
     Vuppalapati and counsel—was not sold at auction. Had counsel simply purchased the computer for
12
     Plaintiffs because Plaintiffs wanted a lightly used computer at a significant discount, then there
13
     would be no issue. However, Plaintiffs’ counsel purchased the computer for the sole purpose of
14
     mining data off the hard drive. This is coorborated by Kulkarni’s declaration in which he openly
15
     admits “Plaintiffs (sic) goal in purchasing the Madhavi Computer was directed toward matters
16
     pertaining to Plaintiffs substantial and ongoing, post-judgment collection efforts, and with the aim of
17

18   identifying clues or evidence surrounding potential identity, location, and/or improper transfer of

19   funds/assets…”1 Kulkarni admits counsel purchased the computer in order to obtain information

20   regarding Defendants outside the confirms of Washington and Federal discovery rules. Plaintiffs’

21   counsel asserted that they have “avoided reviewing documents that are arguably subject to attorney-
22   client privilege”, but clearly Plaintiffs’ counsel is aware of some of the content given that they have
23
     requested to use very specific information extracted from Vuppalapati’s computer at trial.
24

25   1
         Declaration of Kiran Kulkarni at ¶ 4 (emphasis added).


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 1             Plaintiffs’ counsel may have purchased the computer at a sheriff’s sale “legally”. There is

 2   nothing objectionable to their acquisition had they made the purchase simply because either they or
 3   their client wanted a used computer. However, Kulkarni and counsel have already established that
 4
     they have reviewed portions of the information obtained from the computer and that they intend to
 5
     use the information in these proceedings and the proceedings in King County Superior Court. Given
 6
     these facts, counsel’s assertion that they purchased the computer lawfully does not absolve them of
 7
     their wrongdoing nor the fact that they have tainted these proceedings. Disqualification is
 8
     mandatory.
 9
                         C. The Notion that Counsel did not “Employ” Software to Gain
10                       Access to the Data on Vuppalapati’s Hard Drive is Nonsensical
11                         Because Counsel at Miller Nash Admitted to Purchasing the
                         Computer and Sending it to the Forensic Specialist to Extract the
12                                          Data on the Hard Drive.

13             Plaintiffs’ argument that they and their counsel did not employ any software or technology to

14   gain access to Vuppalapati’s data belies the fact that the only way that counsel and their clients

15   obtained access to the information was through the use of a computer forensic expert. As noted in
16   Defendants’ motion, this is not a situation where Plaintiffs merely booted Vuppalapati’s computer,
17
     logged into the operating system because it was not password protected, and then reviewed her
18
     emails and other documents because they were all readily accessible. Rather, Plaintiffs’ counsel
19
     shipped the computer to a forensic expert to have him clone the hard drive and transferred the data to
20
     an external drive. From that external drive, Plaintiffs uploaded the information into their server
21
     system whereby it became readily accessible for their use and counsel’s use. Clearly the steps
22
     Plaintiffs and their counsel took to retrieve the data extended beyond merely booting up
23

24   Vuppalapati’s computer because they took steps to bypass the operating system’s password.2

25   2
         Reply Declaration of Anandhan Jayaraman.


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 1   Plaintiffs’ argument is not that Vuppalapati’s computer was not password protected but rather that

 2   the data was easily cloned and that the hard drive was not encrypted.     Furthermore, there mere fact
 3   that counsel and their clients shipped the computer to a forensic specialist without first attempting to
 4
     access the computer illustrates that they fully intended to retrieve information they had not obtained
 5
     through discovery and that was not readily accessible to the public. Disclosure of the information on
 6
     Vuppalapati’s computer was not inadvertent and Plaintiffs and their counsel’s sole motivation for
 7
     purchasing the computer was to mine it for data. Again, disqualification is required.
 8
                       D. The Acquisition of Privileged Information Through Non-
 9                    Discovery Channels Raises Issues Regarding Whether Counsel
                      Acted Ethically and Whether the Proceedings are Tainted Such
10                                that Withdrawal is the Only Remedy.
11
            Plaintiffs’ attempt to distinguish the facts of this case from those of Richards v. Jain and
12
     WSBA Advisory Opinion 2216 highlights the very actions counsel took that warrant disqualification
13
     of counsel. Similar to the facts in Richard v. Jain, Plaintiffs and their counsel did not obtain
14
     Vuppalapati’s documents through normal discovery channels. Like Richard, the issue at bar is not a
15
     matter that concerns waiver of privilege because Vuppalapati did not disclose the privileged
16
     communications, inadvertently or negligently, through the discovery process. Instead, Plaintiffs’
17

18   counsel purchased the computer and had a specialist clone the data on the hard drive so that

19   Plaintiffs and their counsel could review documents that would not have been accessible to a

20   disinterested purchaser. As Anandhan Jayaraman states, he installed a new operating system onto

21   Vuppalapati’s computer shortly before it was seized by the sheriff and he specifically remembers
22   that he password protected access to Vuppalapati’s account on the operating system. Therefore, the
23
     information was not available to anyone but rather only to those who were specifically looking for it.
24
     Finally, there is little difference between the actions employed by Plaintiffs and the basic facts in
25


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 1   Advisory Opinion 2216. While the opinion is not authoritative to this Court, it is informative.

 2   Again, the issue is not that Plaintiffs simply logged onto Vuppalapati’s account on the computer
 3   because it was not password protected. Rather, the issue is that Plaintiffs and their counsel took
 4
     specific steps to access the data using methods that a lay person would not employ. As a result,
 5
     Plaintiffs’ actions do not materially differ from those of the attorney in Opinion 2216 who used
 6
     methods to access metadata not readily accessible to a lay person. 3
 7
             Plaintiffs and their counsel appear to belabor their stance that this case is a complicated case
 8
     in which Vuppalapati4 and Defendants colluded to defraud Plaintiffs of over $18,000,000.00. If that
 9
     were actually the case, then Plaintiffs’ preparation for the looming trial would have been markedly
10

11   different. As it stands now, Plaintiffs do not have any evidence to present to the jury other than the

12   documents within the docket. Plaintiffs have no forensic accountant to “follow the money” as

13   Kulkarni puts it. Plaintiffs have no documentation to support the amount of damages they purport to

14   have suffered. Clearly in a last ditch effort to have some evidentiary backing for their claims,

15   Plaintiffs and their counsel purchased Vuppalapati’s computer and then used non-pedestrian means
16   to extract the data from the computer’ s hard drive. This is not a case of inadvertent disclosure nor is
17
     this an example of waiver through negligent disclosure. Accordingly, disqualification is proper.
18
                                                       CONCLUSION
19
             For these reasons and the reasons set forth in Defendants’ Motion, Plaintiffs’ counsel should
20
     be disqualified. If the Court finds that sanction to be too harsh, then Plaintiffs’ counsel should be
21
     directed to return the computer’s hard drive and delete all clones and/or copies made of the hard
22
     drive and the data contained thereon.
23

24
     3
       Given the conclusion in Opinion 2216, coordination by counsel to obtain access to privileged information extracted
25   from Vuppalapati’s computer by the forensic expert appears to be a violation of RPC 4.4(a).
     4
       It should be noted that Vuppalapati is no longer a party to this action as she already has a judgment against her.


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 1

 2   Respectfully submitted the 6th day of June 2014.
 3                                                      MDK LAW
 4

 5                                                      By:______________________________
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 8                                                      Attorneys for Defendants

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 1                                       CERTIFICATE OF SERVICE

 2          I hereby certify that on June 6, 2014, I electronically filed the foregoing with the Clerk of

 3   the Court using the CM/ECF system which will send notification of such filing to the following:

 4          Christina L. Haring-Larson, Keith Pitt
            Christina@slindenlson.com, Amanda@slindenelson.com, Keith@slindenelson.com
 5
                    Dated this 6th day of June 2014
 6

 7
                                                                 ___/s/ Mark D. Kimball____________
 8                                                                 Mark D. Kimball, WSBA No. 13146
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